Case 1:13-cv-03060-ENV-LB Document 22 Filed 08/09/13 Page 1 of 3 PagelD #: 184

ASSIGNMENT

We, BARRY KLEIN, of 77 Ross Street, Brooklyn, New York, and CHAIM SAKS, of
195 Division Ave., #14C, Brooklyn, New York, attorneys-in-fact for TIBOR STEINBERGER,
as assignors, hereby assign and transfer to, DAVID KRETZMER, a citizen of Israel permanently
residing at 15 Hahar Street, Kochav Yair, Israel, as assignee, to be held in trust for the heirs of
TIBOR STEINBERGER in accordance with TIBOR STEINBERGER’s last will and testament,
any and al! sums of money now due or owning to TIBOR STEINBERGER, and all claims,
demands, and cause or causes of action of whatever kind and nature that TIBOR
STEINBERGER has had, now has, or may have against JACK LEFKOWITZ, BLUMA
LEFKOWITZ, MASKIL EL-DAL, INC., CARE TO CARE MEDICAL SERVICES, LLC,
MAIMONIDIES MEDICAL SERVICES, LLC AND MEDSCAN MOBILE, or any other person
or persons, entity or entities, whether jointly or severally, arising out of, or for, any loss, injury,
or damage sustained by TIBOR STEINBERGER in connection with a certain scheme to defraud
him through a sham investment scheme by which he was defrauded of the approximate sum of
$3,590,000, but then said sums were surreptitiously transferred to offshore bank accounts abroad.

This assignment is without recourse. Assignors appoint assignee to demand and receive

satisfaction of the assigned claim.

am VG

BARRY KLEAN

LA we

CHAIM SAKS
Case 1:13-cv-03060-ENV-LB Document 22 Filed 08/09/13 Page 2 of 3 PagelD #: 185

Acknowledgment:
State of New York)

County of Kings )

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The foregoing instrument was acknowledged before me this , day of
, 2012, by BARRY KLEIN, who has produced as

   
 

OLOMON &. ANTAS

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Notary Pup igpass, Kinge County
Commtasian Eapires j ‘F] 2 wu
‘ sa
Acknowledgment:

State of New York)

) ss.
County of Kings }

ad
he foregoing instrument was acknowledged before me this AL s , day of
, 2012, by CHAIM SAKS, who has produced as

   
Case 1:13-cv-03060-ENV-LB Document 22 Filed 08/09/13 Page 3 of 3 PagelD #: 186

ACCEPTANCE BY ASSIGNEE

State of New York _ )
) 8s.
County of Kings )

I, DAVID KRETZMER, assignee, accept the above assignment and agree to duly

commence the appropriate action(s), in the appropriate jurisdiction(s), pursuant to the fWvithin

assignment. /|
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Acknowledgment:
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QO he foregoing instrument was acknowledged before me this , day of
, 2012, by DAVID KRETZMER, who has produced as

  

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